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April 9, 2024


VIA ECF

Michael E. Gans
Clerk of Court
U.S. Court of Appeals for the Eighth Circuit
Thomas F. Eagleton Courthouse
111 South 10th Street, Room 24.329
St. Louis, MO 63102

Re:       State of Iowa, et al. v. SEC, No. 24-1522 and all consolidated cases:
          Nos. 24-1623, 24-1624, 24-1626, 24-1627, 24-1628, 24-1631, 24-1633,
          24-1634, and 24-1685

Dear Mr. Gans:

        We represent the U.S. Chamber of Commerce and others in No. 24-1628. We
write jointly with the petitioners in Nos. 24-1522, 24-1626, 24-1627, 24-1631, 24-
1634, and 24-1685 in response to the SEC’s letter of April 4, 2024. In light of the
SEC’s order staying the climate rule “pending the completion of judicial review,” 24-
1522 SEC Letter, attachment at 3 (Apr. 4, 2024), the petitioners in Nos. 24-1628,
24-1522, 24-1626, and 24-1685 withdraw their pending motions for emergency
relief.*

        Petitioners in Nos. 24-1628, 24-1522, 24-1626, 24-1627, 24-1631, 24-1634, and
24-1685 agree with the SEC’s suggestion that the parties should confer “to
determine whether the parties can jointly propose a briefing schedule that …
facilitates a timely ruling on the merits by this Court.” 24-1522 SEC Omnibus
Opposition 7-8 (Apr. 5, 2024). Accordingly, the petitioners in Nos. 24-1628, 24-1522,
24-1626, 24-1627, 24-1631, 24-1634, and 24-1685 jointly request that the Court
instruct the parties “to meet and confer, and to submit, within thirty (30) days …, a
joint proposed briefing schedule.” Cf. Clerk Letter Regarding Briefing 1, Minnesota
Telecom Alliance v. FCC, No. 24-1179 (8th Cir. Feb. 28, 2024). The Commission

* See 24-1628 Emergency Motion for Stay Pending Disposition of Petitions for
Review (Mar. 26, 2024); 24-1522 State Petitioners’ Emergency Motion for
Administrative Stay and Stay Pending Disposition of Petitions for Review (Apr. 3,
2024); 24-1626 Petitioners’ Motion to Stay Enforcement Pending Review (Apr. 3,
2024); 24-1685 Petitioners’ Emergency Motion to Stay Enforcement Pending Review
(Apr. 3, 2024).



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      Appellate Case: 24-1522                   Page: 1           Date Filed: 04/09/2024 Entry ID: 5381875
Michael E. Gans                                                           April 9, 2024
                                                                                Page 2


consents to petitioners’ request that the Court instruct the parties to meet and
confer.

Respectfully submitted,

/s/ Eugene Scalia

Eugene Scalia




   Appellate Case: 24-1522    Page: 2    Date Filed: 04/09/2024 Entry ID: 5381875
